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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                  Plaintiffs,                                4:17CR3123

      vs.
                                                               ORDER
ISRAEL ELIAS HOLMES, KIANA
MICHELLE STABLER, CRYSTAL
LARAE STABLER, KAYLENE EDNA
MAE STABLER, and JULIAN MICHAEL
HUFFMAN,

                  Defendants.


      Defendants Kiana Michelle Stabler and Kaylene Edna Mae Stabler have
moved to continue the pretrial motion deadline, (Filing Nos. 44 & 45), because
Defendants need additional time to investigate this case and prepare for trial.
Based on the showing set forth in the motions, the court finds the motions should
be granted. Accordingly,

      IT IS ORDERED:
      1)    Defendants Kiana Michelle Stabler and Kaylene Edna Mae Stabler’s
            motions to continue, (Filing Nos. 44 & 45), are granted.

      2)    As to all defendants, pretrial motions and briefs shall be filed on or
            before February 5, 2018.

      3)    As to all defendants, trial of this case is set to commence before the
            Honorable John M. Gerrard, United States District Judge, in Courtroom 1,
            United States Courthouse, Lincoln, Nebraska, at 9:00 a.m. on February
            26, 2018, or as soon thereafter as the case may be called, for a duration
            of ten (10) trial days. Jury selection will be held at commencement of trial.

      4)    The ends of justice served by granting the motion to continue
            outweigh the interests of the public and the defendant in a speedy
            trial, and as to all defendants, the additional time arising as a result
            of the granting of the motions, the time between today’s date and
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          February 5, 2018, shall be deemed excludable time in any
          computation of time under the requirements of the Speedy Trial Act,
          because although counsel have been duly diligent, additional time is
          needed to adequately prepare this case for trial and failing to grant
          additional time might result in a miscarriage of justice. 18 U.S.C. §
          3161(h)(1), (h)(6) & (h)(7). Failing to timely object to this order as
          provided under this court’s local rules will be deemed a waiver of any
          right to later claim the time should not have been excluded under the
          Speedy Trial Act.

    Dated this 5th day of January, 2018.

                                           BY THE COURT:

                                           s/ Cheryl R. Zwart
                                           United States Magistrate Judge




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